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                 UNITED STATES COURT OF INTERNATIONAL TRADE
                BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE

______________________________________________                     x
                                                                   :
WABTEC CORPORATION and STRATO, INC.,                               :
                                                                   :
                           Plaintiff/Consolidated Plaintiff,       :
                                                                   :
                                                                   :
                           v.                                      :     Consol. Court No. 23-00157
                                                                   :
UNITED STATES,                                                     :      NON-CONFIDENTIAL VERSION
                                                                   :
                                  Defendant,                       :
                  and                                              :
                                                                   :
COALITION OF FREIGHT                                               :
COUPLER PRODUCERS,                                                 :

                        Defendant-Intervenor.   :
________________________________________________x

   PLAINTIFF’S MOTION FOR REMAND TO AGENCY FOR RECONSIDERATION

         Plaintiff Strato, Inc. (“Strato”) respectfully moves the court to remand the final

affirmative injury determinations of the U.S. International Trade Commission (“ITC” or

“Commission”) in the antidumping and countervailing duty (“AD/CVD”) investigations of

certain freight rail couplers (“FRCs”) and parts thereof from China (“FRC II”), Certain Freight

Rail Couplers and Parts Thereof from China, 88 Fed. Reg. 43,398 (July 7, 2023); Certain

Freight Rail Couplers and Parts Thereof from China, Inv. Nos. 701-TA-682, 731-TA-1592,

USITC Pub. 5438 (July 2023) (Final) (“Views”), for the agency to reconsider its affirmative

injury determination in light of newly emerged evidence of fraud perpetrated by the domestic

industry during the course of underlying investigation. This fraud had a material impact on the

ITC’s injury determination and compels reconsideration.



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         As articulated by the U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”), a

remand to the agency for reconsideration is necessary where there is clear and convincing new

evidence that the agency proceeding under review was tainted by material fraud. See Home

Products Int’l v. United States, 633 F.3d 1369, 1381 (Fed. Cir. 2011). Evidence that emerged

after the Commission issued its affirmative injury determination demonstrates that domestic

producers were producing and selling knuckles and complete coupler assemblies or fits

(comprising coupler body and knuckle) that deviated significantly from specifications approved

by the Association of American Railroads (“AAR”) during the Period of Investigation (“POI”),

despite repeated statements from domestic producers that their sales of knuckles and coupler

assemblies throughout the POI were all AAR-approved. In reality, from at least the beginning of

2021 onward, a time frame spanning more than two-thirds of the POI, virtually none were.

         To protect the freight rail network, the AAR commenced investigations in late 2023 [

                           ] and took prompt action in response: specifically, it declared that the new

knuckle design never obtained AAR approval and directed the domestic industry to stop making

and selling knuckles and fits with the non-approved design. The domestic industry sold these

new knuckles throughout the POI, and these non-AAR-approved products accounted for the

majority of their complete coupler assembly and standalone knuckle shipments (e.g., Pricing

Products 1, 2, and 3). The domestic industry withheld material information about these design

changes both from the AAR and from the Commission, and repeatedly certified to the

Commission that their knuckles enjoyed AAR approval—statements that now have been proven

false. Their material fraud and failure to disclose material information during the FRC II

investigations led the Commission to conclude that domestically produced knuckles were




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manufactured to AAR specifications and were therefore interoperable and interchangeable with

subject imports.

         As detailed in Appendix A (Request for Agency Reconsideration From TTX

Company and Strato, Inc.) and summarized below, the domestic industry’s material fraud and

omission of material facts tainted the ITC’s analyses of domestic like product, cumulation,

conditions of competition, and price effects, and undermined all data collected on price, capacity,

production, shipments, and inventory during the POI—all of which the ITC expressly relied

upon in its final determination. Newly emerged evidence about knuckles and coupler assemblies

produced and sold in the United States during the POI therefore warrants an immediate remand

for agency reconsideration. Plaintiff respectfully requests that this Court issue a remand for the

ITC to reconsider its prior affirmative injury determination, staying this appeal pending the

ITC’s decision. See Home Products Int’l v. United States, 633 F.3d 1369, 1378 (Fed. Cir. 2011).

         Strato consulted with Counsel for Plaintiff Wabtec, Defendant the United States, and

Defendant-Intervenor the Coalition of Freight Coupler Producers regarding this motion, and

received email responses on January 31, 2025. Counsel for Plaintiff Wabtec supports this

motion. Counsel for Defendant-Intervenor opposes the motion and intends to file papers in

opposition. Counsel for Defendant takes no position on the motion until it has the chance to

review the motion and attached documentation more closely, and to consider the opposition that

Defendant-Intervenor intends to file, and also requests that its response to this motion be due

after Defendant-Intervenor files its opposition—a request that Strato does not oppose.




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I.       In November 2023 the AAR Concluded that Knuckles Produced Domestically
         during the POI Never Obtained AAR Approval After Discovering that the Domestic
         Industry Had Been Making and Selling Knuckles and Coupler Assemblies that
         Significantly Deviated from AAR Specifications.

         The AAR is a standard-setting organization and trade association representing the

domestic freight rail industry. Its Castings Committee oversees the development and

implementation of manufacturing standards for FRCs used in the United States and throughout

North America. All knuckles and coupler bodies used in the United States must be manufactured

to the AAR’s M-211 or M-215 specifications to ensure that they are interoperable, meaning they

can work together on railcars regardless of manufacturer.

         [                           ] after the Commission closed the record to new factual

information in the FRC II investigations—the AAR for the first time learned of a new knuckle

design patented by McConway & Torley LLC (“M&T”) that was sold in significant quantities

during the POI. [                                                  ], the AAR discovered that

M&T had started producing and selling the new knuckles [                                      ] it filed

a petition against freight rail couplers from China in the first FRC case, in September 2021. A

second domestic producer, Amsted Rail Company, Inc., started producing this new knuckle

design [                                                ]. The domestic industry concealed its

use of a new patented design from the AAR and from purchasers, [

                                              ]. Throughout the entire POI, the domestic industry

continued to market its new knuckles as AAR-approved, using the exact same catalogue code for

their new, non-AAR-approved knuckles as for the standard AAR-approved knuckles that the

domestic industry secretly stopped producing.

         The domestic producers did not just implement minor changes to the knuckles when they

implemented M&T’s patent after 2019. They started manufacturing a whole new product that

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deviated significantly from AAR specifications. Deviations such as those summarized below led

the AAR to formally announce in November 2023 that knuckles produced to M&T’s patented

new design were not AAR-approved:

            As highlighted in M&T’s patent (which includes new designs for both a knuckle and
             a complementary coupler body), M&T significantly altered the angle of the top and
             bottom knuckle pulling lugs, i.e., the rectangular blocks located on the tail of a
             knuckle. In an AAR-approved knuckle, the pulling lugs would have a nearly vertical
             draft angle of two to six degrees from ninety degrees, but the M&T design modifies
             that draft angle to about thirty degrees from a right angle.

            [

                                               ].

            M&T made other geometrical changes to the knuckle, including (i) increasing the
             thickness of the tail section near the lower knuckle pulling lug, (ii) increasing the
             thickness of the knuckle section between the throat and the backside of the knuckle,
             and (iii) increasing the diameter of the knuckle pin hole.

         In November 2023, the AAR also directed domestic producers to return immediately to

producing AAR-approved knuckles. [

                                                        ]. Despite the AAR’s insistence on a

prompt transition back to the production of approved components, [

                                                                                                 ]. The

only reasonable explanation [               ] is that the design changes were so significant that

M&T had likely altered or even discarded the original physical toolings used to form the cavity

in the metal casting mold for AAR-approved knuckles.

         Based on information collected in September 2023, [




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                                                                             ].

II.      The Non-AAR-Approved Knuckles [
                 ].

         Since the beginning of 2024, the relevant AAR committee [




             ] differences between the non-AAR-approved knuckles designed by M&T and AAR-

approved knuckles:

            Non-AAR-approved knuckles cause premature failures in other FRC components.
             Notably, they have caused considerable damage to coupler bodies with which they
             were sold as a fit or paired as a replacement knuckle. Studies show that the pulling
             lugs on a coupler body used with non-AAR-approved knuckles appear to wear three
             times as fast. The failure rate of coupler bodies used with non-AAR-approved
             knuckles could be over 30 times higher than the failure rate of coupler bodies used
             with AAR-approved knuckles. The service life of a coupler body is typically four
             times longer than that of an AAR-approved knuckle, but on some cars equipped with
             non-AAR-approved knuckles, TTX has replaced 2.5 times more coupler bodies than
             non-AAR-approved knuckles.

            As M&T emphasized in its testimony to the Commission, the industry designed the
             knuckle to be the “fuse” of the FRC system—the component that is intended “to fail
             before everything else.” See FRC II Staff Conf. Tr., PR61 at 47 (Mr. Mautino for
             M&T). This is because broken knuckles are easier to replace on line of road. M&T’s
             design, however, shifted the loading of stress from the knuckle to the coupler body,
             making it the new fuse of any FRC system using non-AAR-approved knuckles. [
                                                                                                  ]
             because broken coupler bodies—which are heavier and more expensive than
             knuckles—can only be replaced by sending a mechanical road truck or by taking the
             railcar out of service.

            M&T’s design creates additional longitudinal motion, which increases slack in the
             FRC system. [
                                                             ].

            To improve coupler body reconditioning, performance, and safety, the industry
             developed a gauge for reconditioners to measure the wear on a coupler body and
             determine if it is too worn to return to service. The industry used the coupler body

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               wear patterns typically caused by AAR-approved knuckles to develop this gauge.
               M&T’s knuckle design changed the wear pattern on coupler bodies and made the
               newly developed gauge ineffective for use with couplers that have been paired with
               non-AAR-approved knuckles. [
                                                                  ].

              M&T’s new knuckle design loads the nose of the opposing knuckle, not the pulling
               face—the surface that is designed to be load-bearing. This shift in loading patterns
               away from the pulling face causes damage to the nose of AAR-approved knuckles
               when they are used together with a non-approved M&T knuckle.

         [



             ]. Due to the lack of necessary information, the industry [



                           ].

III.     The Domestic Industry’s Material Fraud and Misstatements During the FRC II
         Investigations Require a Remand by this Court for the ITC to Reconsider its Prior
         Determination.

         In July 2023, the Commission issued an affirmative injury determination in FRC II. Since

then, the AAR has discovered new evidence establishing that the ITC’s FRC II proceeding was

tainted by material fraud and the omission of material facts by the domestic industry regarding

the knuckles and coupler assemblies that it produced and sold throughout the POI. The ITC must

have an opportunity to reconsider its FRC II determination, pursuant to its inherent authority to

reconsider determinations for the integrity of its proceedings. Before it can do so, this Court must

stay the pending appeal and remand the determination back to the ITC for the agency to resume

jurisdiction over the matter.




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         A.       The Commission Has the Authority to Reconsider its Affirmative Injury
                  Determination.

         Courts have long held that administrative agencies have the inherent authority to

reconsider their prior decisions. The D.C. Circuit has explained that “{i}t is well settled that,

even where Congress has provided no explicit mechanism for agency reconsideration, statutes

that authorize agencies to act are also presumed to empower those agencies to reconsider their

actions.” Ivy Sports Medicine, LLC v. Burwell, 767 F.3d 81, 93 (D.C. Cir. 2014). Indeed, “{t}he

power to reconsider is inherent in the power to decide.” Albertson v. FCC, 182 F.2d 397, 399

(D.C. Cir. 1950). The power to reconsider “does not depend on statutory authority.” Prieto v.

United States, 655 F. Supp. 1187, 1191 (D.D.C. 1987).

         The Commission has recognized that this inherent authority applies to its ability to

reconsider its own prior material injury determinations. Ferrosilicon from Brazil, China,

Kazakhstan, Russia, Ukraine, and Venezuela, Inv. Nos. 303-TA-23, 731-TA-566-570, 731-TA-

641, USITC Pub. 3218 (Aug. 1999) (Reconsideration), at 6-7 (“Ferrosilicon Reconsideration

Determination”). The Commission can, under “extraordinary circumstances,” reconsider its

original determinations. Id. at 8. This Court expressly held that the Commission’s AD/CVD

investigations are within the scope of this reconsideration authority, determining “that the ITC

renders its final determinations in a quasi-adjudicative manner.” Elkem Metals Co. v. United

States, 193 F. Supp. 2d 1314, 1320 (Ct. Int’l Trade 2002). This Court has since reiterated that the

Commission has the inherent authority to reconsider its own determinations. Consolidated

Fibers, Inc. v. United States, 465 F. Supp. 2d 1338, 1343 (Ct. Int’l Trade 2006).




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         B.       Before the Commission Can Reopen its Proceedings for Potential
                  Reconsideration, the Court Must First Remand the Investigation.

         When an agency decision is on appeal, the Court must first remand the case back to the

agency for the agency to decide whether reconsideration is proper. Although there is “no reason

why” the pendency of an appeal would impact an agency’s ability to reconsider its prior

determination upon a discovery of fraud, the case must be remanded for the agency to assume

jurisdiction over it. Home Products Int’l, Inc. v. United States, 633 F.3d 1369, 1377 (Fed. Cir.

2011); see also Pirelli Tyre Co. v. United States, 539 F. Supp. 3d 1257, 1261-62 (Ct. Int’l Trade

2021). The Federal Circuit has explained that there is “no reason why parties other than the

administrative agency cannot also request reopening or a remand for the consideration of new

and material evidence.” Home Products Int’l, Inc. v. United States, 633 F.3d 1369, 1378 (Fed.

Cir. 2011).

         Strato is an interested party that has appealed the Commission’s underlying material

injury determination. In light of the new evidence that emerged following the Commission’s

determination, Strato now requests that the Court remand the investigation back to the

Commission for it to analyze how the new and material evidence regarding the domestic

industry’s fraudulent representations of the interoperability and AAR-approved status of their

knuckles and fits impact the affirmative injury determination. A remand is imperative for the

Commission to consider the new evidence that TTX Company and Strato have compiled in

Appendix A and to reconsider its affirmative injury determination.

         C.       Clear and Convincing Evidence Demonstrates that the Domestic Industry
                  Tainted the Underlying Investigation Through Material Fraud.

         The Federal Circuit has provided a clear standard for the CIT to use when considering

whether to remand an AD/CVD investigation for reconsideration. In Home Products Int’l v.


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United States, the Federal Circuit considered the CIT’s decision not to remand a decision back to

the Department of Commerce (“Commerce”) for reconsideration when new evidence came to

light of material fraud that had tainted the underlying administrative review. 633 F.3d 1369 (Fed.

Cir. 2011). In Home Products, the third administrative review proceeded during the pendency of

an appeal to the CIT of Commerce’s decision from the second administrative review. In the third

administrative review, new evidence was uncovered that suggested that the respondent in the

underlying investigation “had submitted falsified documents to Commerce during the third

administrative review.” Id. at 1372. Commerce concluded that certificates of origin bearing

similar irregularities had also been submitted during the second administrative review that was

under appeal. Id. at 1374-75. The Federal Circuit reversed the CIT’s holding that it could not

remand based on evidence outside of the administrative record under review, concluding that in

instances of “new evidence indicating that the original record was tainted by fraud, reopening

{the record} may be appropriate.” Id. at 1379. When a party submits “clear and convincing new

evidence sufficient to make a prima facie case that the agency proceedings under review were

tainted by material fraud,” then the CIT abuses its discretion if it does not order a remand for the

agency to reconsider its decision in light of the new evidence. Id. at 1378. This Court has since

applied this standard in cases where the underlying agency investigation may have been tainted

by fraud. Pirelli Tyre Co. v. United States, 539 F. Supp. 3d 1257, 1261-62 (Ct. Int’l Trade 2021).

         There is clear and convincing new evidence here that the Commission’s affirmative

injury determination in FRC II was tainted by material fraud. Domestic producers withheld the

material fact that they were producing and selling newly designed, non-AAR-approved knuckles

prior to and throughout the POI. Moreover, M&T repeatedly misrepresented to the Commission

that its knuckles and fits were made to AAR specifications and therefore were interchangeable


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with subject imports. See, e.g., Hearing Tr., PR144 at 27-28 (Mr. Lefevre) (“These products are

all interchangeable. They’re built to be that way . . . . {I}n the end the relevant standard is

whether it meets AAR specifications.”) (emphasis added); id., PR144 at 14, 19 (Mr. Mautino)

(“It is my understanding that the Commission fully understands how freight rail couplers are

made, and that all rail couplers sold in the United States are produced to AAR standards,

and are designed to be interchangeable so that any coupler can be attached to any rail car . . . .

The finished product has to meet the AAR standards regardless of how their mold is made.

All AAR certified couplers are interoperable, interchangeable, and substitutable.”)

(emphases added); see also Petition Vol. I, PR1 at 9-10; M&T Prehearing Br., PR136 at 15, 28-

30, 37, Ex. 17 ¶ 9; M&T Posthearing Br., PR155, Ex. 1 at 57-58, Ex. 4 ¶ 2; M&T Final

Comments, PR181 at 5.

         In reaching the affirmative injury determination, the Commission repeatedly relied on a

false premise that all FRCs sold in the United States over the POI were made to AAR

specifications and thus were interchangeable. This false premise tainted the Commission’s

analyses of domestic like product, cumulation, substitutability, and price effects:

            Domestic Like Product: The Commission found a single domestic like product
             consisting of all FRCs within the scope, i.e., FRCs that meet or exceed AAR M-211
             or M-215 specifications. Views, PR190 at 7, 11. The Commission included
             domestically produced knuckles and complete coupler assemblies in the domestic like
             product because the Petitioner misrepresented that the domestically produced
             knuckles and complete fits meet all AAR specifications.

            Cumulation: The Commission cumulated subject imports from China and Mexico
             after finding that subject imports from these countries are generally fungible with the
             domestic like product and each other. The Commission relied on the falsity that
             “{a}ll FRCs from subject and domestic sources are manufactured in accordance with
             AAR standards to ensure FRCs in the United States are interoperable.” Views, PR190
             at 25.

            Conditions of Competition—Substitutability: The Commission found “a
             moderately high to high degree of substitutability between domestically produced

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             FRCs and subject imports.” Views, PR190 at 33. This conclusion rested on the falsity
             that “all FRCs and in-scope components are subject to manufacturing and safety
             standards set by the AAR, regardless of source.” Id., PR190 at 35. If M&T’s non-
             AAR-approved design and related performance issues had been disclosed, the record
             on substitutability and the decisions of purchasers during the POI would have looked
             very different. The Commission also discounted the importance of the Bedloe
             technology, which Respondents argued was an important non-price purchase factor,
             citing no differences between Bedloe and non-Bedloe FRCs in terms of “AAR
             certification.” Id., PR190 at 34, n.182.

            Price Effects: In finding significant price effects during the POI, the Commission
             noted that “{o}ver half of the underselling by volume” consisted of pricing product 3,
             i.e., E50 knuckles produced to AAR M-211 or M-215 standards. Id., PR190 at 41,
             n.227. This means the Commission found significant underselling by comparing
             prices of imported pricing product 3 with prices of domestically produced knuckles
             that for at least two-thirds of the POI did not qualify as pricing product 3 because they
             were not produced to AAR standards. Data on pricing products 1 and 2, complete
             assemblies with both coupler body and knuckle, suffer from the same fatal flaw.

            Other Findings Based on Data from Domestic Producers: The Commission
             collected capacity, production, shipments, and inventory data from domestic
             producers, see generally U.S. Producers’ Questionnaire, PR105, all of which should
             have been limited to FRCs that meet AAR specifications, as required in the scope of
             the investigations, id., PR105 at 2. The fact that the domestic industry did not
             manufacture knuckles or complete assemblies to AAR specifications across the POI
             renders unreliable all findings of the Commission that were based on data collected
             from the domestic industry and from purchasers unaware that they had purchased
             non-AAR-approved knuckles or complete assemblies from the domestic industry.

         Because Plaintiff has presented clear and convincing new evidence sufficient to establish

a prima facie case that the Commission’s affirmative injury determination in FRC II was tainted

by material fraud, the Court must—pursuant to the Federal Circuit’s standard in Home

Products—remand the matter to the agency for the Commission to reconsider its prior

determination in light of this new evidence.




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Dated: January 31, 2025



                                             Respectfully submitted,

                                             /s/ James M. Smith
                                             James M. Smith
                                             Shara L. Aranoff
                                             Sooan (Vivian) Choi
                                             Wanyu Zhang
                                             John Catalfamo
                                             COVINGTON & BURLING LLP
                                             850 10th Street, NW
                                             Washington, D.C. 20001
                                             202.662.5550
                                             jmsmith@cov.com

                                             Counsel for Strato Inc.

                                             /s/ Andrew T. Schutz
                                             Andrew T. Schutz
                                             Ned H. Marshak
                                             GRUNFELD, DESIDERIO, LEBOWITZ
                                             SILVERMAN & KLESTADT LLP
                                             1201 New York Ave., NW, Suite 650
                                             Washington, D.C. 20005
                                             202.783.6881
                                             aschutz@gdlsk.com

                                             Counsel for Strato Inc.




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               UNITED STATES COURT OF INTERNATIONAL TRADE
              BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE

______________________________________________      x
                                                    :
WABTEC CORPORATION and STRATO INC.,                 :
                                                    :
                  Plaintiff/Consolidated Plaintiff, :
                                                    :               Consol. Court No. 23-00157
                                                    :
                  v.                                :
                                                    :
UNITED STATES,                                      :
                                                    :
                          Defendant,                :
            and                                     :
                                                    :
COALITION OF FREIGHT                                :
COUPLER PRODUCERS,                                  :
                                                    :
                          Defendant-Intervenor.     :
________________________________________________x

                                             ORDER

       Upon consideration of the Motion for Remand to Agency for Reconsideration filed by

Strato, Inc. (“Strato”), and upon all other papers and proceedings herein, the Court

       ORDERS that Strato’s Motion is granted; and further

       ORDERS that this matter is remanded to the U.S. International Trade Commission for it to

reconsider its affirmative injury determination in Certain Freight Rail Couplers and Parts Thereof

from China, 88 Fed. Reg. 43,398 (July 7, 2023).

               SO ORDERED.

                                                  _____________________________________
                                                          Gary S. Katzmann, Judge


       Dated: ___________________, 2025
               New York, New York
